                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

 IN RE: THE HOME DEPOT, INC.,                             MDL DOCKET NO. 2583
 CUSTOMER DATA SECURITY                                   1:14-md-2583-TWT
 BREACH LITIGATION                                        FINANCIAL INSTITUTION CASES



                                          OPINION AND ORDER


         This is a data breach case. It is before the Court on The Home Depot, Inc.’s

Motion to Dismiss the Financial Institution Plaintiffs’ Consolidated Class Action

Complaint [Doc. 114], which is GRANTED in part and DENIED in part.

                                                   I. Background

         Between April 2014 and September 2014, the Defendant, The Home Depot,

Inc., was the subject of one of the largest retail data breaches in history.1 Hackers stole

the personal and financial information of approximately 56 million Home Depot

customers across the country.2 The hackers then sold the information on the internet

to thieves who made large numbers of fraudulent transactions on credit and debit cards

issued to Home Depot customers.3

         1
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 1.
         2
                   Id.
         3
                   Id.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd
         The Defendant makes a large portion of its sales to customers who use credit

or debit cards.4 Merchants such as the Defendant acquire large amounts of information

about each customer when processing card transactions, including the card data and

potentially personally identifiable information (“PII”) such as financial data and

mailing addresses.5 The Defendant has stored that data in its computer systems for

years.6 In fact, the Defendant stores PII indefinitely.7 Starting in 2008, the Defendant

identified the potential repercussions of a data breach as a risk factor for its business

in its annual report and SEC filings.8

         Despite its acknowledgment of the data security risk, the Plaintiffs allege that

the Defendant’s data security system suffered from many weaknesses leading up to

the data breach at issue here.9 The weaknesses included failure to maintain an

adequate firewall, failure to have adequate internal controls within its computer

network, failure to restrict access to cardholder data on its network, failure to use



         4
                   Id. ¶ 85.
         5
                   Id. ¶ 88.
         6
                   Id. ¶ 89.
         7
                   Id.
         8
                   Id. ¶ 92.
         9
                   Id. ¶ 96.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -2-
coded numbers on its point-of-sale terminals at self checkout lanes, failure to use up-

to-date antivirus software on its point-of-sale terminals, failure to encrypt cardholder

data at the point of sale, failure to track access to its network, failure to monitor the

network for unusual activity, and failure to scan in-store computer systems for

vulnerabilities that could be exploited by hackers.10 The Plaintiffs allege that these

failures were due to incompetence by senior management and a desire to cut corners

to save money.11

         The Plaintiffs allege that beginning in 2008, the Defendant’s IT employees

began reporting data security problems, specifically telling supervisors that the

computer systems were “easy prey for hackers” and that they could be breached by

anyone with “basic internet skills.”12 Then, starting in 2009, computer experts

repeatedly warned the Defendant about the failure to encrypt customer data at the

point-of-sale.13 Without encryption, card data was visible in plain text while being sent

from the point-of-sale terminal to the Defendant’s main servers, making it vulnerable




         10
                   Id.
         11
                   Id. ¶¶ 97-101.
         12
                   Id. ¶ 103.
         13
                   Id. ¶ 104.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -3-
to hackers.14 In 2010, an employee warned the Defendant of a security flaw that

allowed unauthorized persons to access the network and navigate freely without

triggering any alarms.15 The Defendant ignored the warnings and fired the employee.16

Despite warnings from security staffers, the Defendant also failed to properly

implement and update antivirus software for its point-of-sale systems.17 Employees

also consistently warned the Defendant about its failure to monitor the network for

potential vulnerabilities, abnormalities, and the presence of malware.18 Furthermore,

the Defendant’s IT management took affirmative steps to stop employees from fixing

security deficiencies and made it known that they would not spend the money to make

necessary improvements.19 Numerous employees working on data security issues left

the company beginning in 2011, leaving the IT department understaffed.20 One of the




         14
                   Id.
         15
                   Id. ¶ 105.
         16
                   Id.
         17
                   Id. ¶ 106.
         18
                   Id. ¶ 107.
         19
                   Id. ¶ 109.
         20
                   Id. ¶¶ 118-123.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -4-
Defendant’s security vendors also threatened to stop working with the company unless

it started to take security more seriously.21

         In the nine months prior to the data breach at issue here, the Defendant had

numerous warnings of a problem.22 In July of 2013, the Defendant suffered a small

data breach when hackers placed data-stealing malware on at least eight point-of-sale

terminals in a Dallas, Texas, store.23 In August of 2013, Visa sent a letter warning of

an increase in hacker intrusions involving retail merchants.24 On October 1, 2013,

FishNet Security warned the Defendant that its computer systems were vulnerable

because the firewall was not operating properly.25 In December of 2013, the Defendant

learned that point-of-sale terminals at one of its stores in Columbia, Maryland, were

infected with data-stealing malware that could have been blocked by the proper

firewall; the Defendant still failed to upgrade its firewall.26 Also in December of 2013,

hackers installed malware at Target stores nationwide, and the Defendant attempted



         21
                   Id. ¶ 123.
         22
                   Id. ¶ 125.
         23
                   Id. ¶ 126.
         24
                   Id. ¶ 127.
         25
                   Id. ¶ 128.
         26
                   Id. ¶ 129.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -5-
to respond by assembling a task force to address the situation.27 In January of 2014,

an outside security consultant told the Defendant that its network was vulnerable to

attack and did not comply with industry standards.28 In that same month, the FBI

alerted the Defendant about the danger of malware attacks and urged it to update its

network security measures.29 In February of 2014, FishNet again warned the

Defendant of the need to upgrade the network’s firewall.30 Also in February of 2014,

the data security task force came back with recommendations to improve security; the

Defendant did not immediately implement them.31 Eventually, the Defendant began

to implement point-of-sale encryption technology, but by that point, hackers had

already infiltrated its computer network.32

         Beginning in April of 2014, hackers gained access to the Defendant’s computer

systems using the credentials of a third party vendor, which they were able to do

because of the firewall flaw.33 The hackers were able to freely access the network

         27
                   Id. ¶¶ 130-131.
         28
                   Id. ¶ 133.
         29
                   Id. ¶ 134.
         30
                   Id. ¶ 135.
         31
                   Id. ¶¶ 136-37.
         32
                   Id. ¶ 137.
         33
                   Id. ¶ 138.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -6-
without triggering any alarms.34 Inside the network, the hackers targeted the point-of-

sale systems at 7,500 self-checkout lanes.35 They installed malware on those systems

that siphoned off the information from a payment card when it was used at a self-

checkout lane.36 The malware remained on the self-checkout terminals until around

September 7, 2014.37 Between September 1, 2014, and September 7, 2014, the credit

and debit card information of the Defendant’s customers was made available for sale

on a black-market website, Rescator.cc.38

         On September 2, 2014, a security blogger reported that banks were seeing

evidence of fraud linked to cards that had made purchases at the Defendant’s stores.39

The U.S. Secret Service also alerted the Defendant that its computer systems had

likely been breached.40 At that point, the Defendant noted that it was looking into the

situation, but did not confirm a breach.41 On September 6, 2014, the Defendant’s


         34
                   Id. ¶ 139.
         35
                   Id.
         36
                   Id. ¶ 140.
         37
                   Id. ¶ 141.
         38
                   Id. ¶¶ 145-46, 150, 152.
         39
                   Id. ¶ 146.
         40
                   Id. ¶ 148.
         41
                   Id.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -7-
investigators confirmed that a security breach had taken place, but did not publicly

disclose that information.42 On September 8, 2014, the Defendant issued a news

release that its systems had been breached, but failed to warn that its customers’

information was for sale and being used by criminals.43 On November 6, 2014, the

Defendant issued a news release announcing the results of its internal investigation;

it admitted that data security should have been a higher priority and that its systems

were woefully out of date.44

         The Plaintiffs here are a putative class of financial institutions that issued and

owned payment cards compromised by the data breach,45 as well as associations of

credit unions whose members have been damaged by the data breach.46 The putative

financial institution class alleges that it has been damaged by having to reimburse

customers for the fraud losses suffered due to the data breach as well as by other costs

such as having to reissue payment cards. The putative class brings claims for

negligence and negligence per se, as well as violation of eight state-specific consumer



         42
                   Id. ¶ 151.
         43
                   Id. ¶ 154.
         44
                   Id. ¶¶ 158-59.
         45
                   Id. ¶¶ 11-61.
         46
                   Id. ¶¶ 62-80.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -8-
protection statutes. The putative class also seeks injunctive and declaratory relief. The

association plaintiffs do not sue as a class.47 They seek only equitable relief. The

Defendant moves to dismiss all the claims by both the putative class and the

association plaintiffs.

                                               II. Legal Standard

         A complaint should be dismissed under Rule 12(b)(6) only where it appears that

the facts alleged fail to state a “plausible” claim for relief.48 A complaint may survive

a motion to dismiss for failure to state a claim, however, even if it is “improbable” that

a plaintiff would be able to prove those facts; even if the possibility of recovery is

extremely “remote and unlikely.”49 In ruling on a motion to dismiss, the court must

accept the facts pleaded in the complaint as true and construe them in the light most

favorable to the plaintiff.50 Generally, notice pleading is all that is required for a valid




         47
                   Id. ¶ 62.
         48
                   Ashcroft v. Iqbal, 129 S. Ct. 1937, 1949 (2009); Fed. R. Civ. P. 12(b)(6).
         49
                   Bell Atlantic v. Twombly, 550 U.S. 544, 556 (2007).
         50
            See Quality Foods de Centro America, S.A. v. Latin American
Agribusiness Dev. Corp., S.A., 711 F.2d 989, 994-95 (11th Cir. 1983); see also
Sanjuan v. American Bd. of Psychiatry & Neurology, Inc., 40 F.3d 247, 251 (7th Cir.
1994) (noting that at the pleading stage, the plaintiff “receives the benefit of
imagination”).
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -9-
complaint.51 Under notice pleading, the plaintiff need only give the defendant fair

notice of the plaintiff’s claim and the grounds upon which it rests.52

                                                   III. Discussion

         A. Standing

         The Defendant first moves to dismiss all of the Plaintiffs’ claims for lack of

standing. In order to establish standing under Article III, a plaintiff must show an

injury that is “concrete, particularized, and actual or imminent; fairly traceable to the

challenged action; and redressable by a favorable ruling.”53 The Supreme Court has

held that “threatened injury must be certainly impending to constitute injury in fact,

and that allegations of possible future injury are not sufficient.”54 The Supreme Court

has also noted, however, that standing can be “based on a ‘substantial risk’ that the

harm will occur, which may prompt plaintiffs to reasonably incur costs to mitigate or

avoid that harm.”55 Here, the financial institution plaintiffs have adequately pleaded



         51
              See Lombard’s, Inc. v. Prince Mfg., Inc., 753 F.2d 974, 975 (11th Cir.
1985), cert. denied, 474 U.S. 1082 (1986).
         52
                   See Erickson v. Pardus, 551 U.S. 89, 93 (2007) (citing Twombly, 550
U.S. at 555).
         53
                   Clapper v. Amnesty Int’l USA, 133 S. Ct. 1138, 1147 (2013).
         54
                   Id.
         55
                   Id. at 1150 n.5.
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -10-
standing. Specifically, the banks have pleaded actual injury in the form of costs to

cancel and reissue cards compromised in the data breach, costs to refund fraudulent

charges, costs to investigate fraudulent charges, costs for customer fraud monitoring,

and costs due to lost interest and transaction fees due to reduced card usage.56 These

injuries are not speculative and are not threatened future injuries, but are actual,

current, monetary damages. Additionally, any costs undertaken to avoid future harm

from the data breach would fall under footnote 5 of Clapper, specifically as reasonable

mitigation costs due to a substantial risk of harm. The injuries, as pleaded, are also

fairly traceable to Home Depot’s conduct, specifically the alleged failure to implement

adequate data security measures. A favorable ruling would also redress these

monetary harms. The Defendant’s motion to dismiss for lack of standing should be

denied.

         B. Negligence and Negligence Per Se

         Next, the Defendant argues that the Plaintiffs’ negligence and negligence per

se claims are barred by the economic loss rule. “The ‘economic loss rule’ generally

provides that a contracting party who suffers purely economic consequences must

seek his remedy in contract and not in tort.”57 In other words, “a plaintiff may not


         56
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶¶ 186-191.
         57
                   General Elec. Co. v. Lowe’s Home Centers, Inc., 279 Ga. 77, 78 (2005).
T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -11-
recover in tort for purely economic damages arising from a breach of contract.”58

Where, however, “an independent duty exists under the law, the economic loss rule

does not bar a tort claim because the claim is based on a recognized independent duty

of care and thus does not fall within the scope of the rule.”59 Here, even though there

is a contract between the card issuers and the Plaintiffs, the independent duty

exception would bar application of the economic loss rule. Georgia recognizes a

general duty “to all the world not to subject them to an unreasonable risk of harm.”60

A retailer’s actions and inactions, such as disabling security features and ignoring

warning signs of a data breach, are sufficient to show that the retailer caused

foreseeable harm to a plaintiff and therefore owed a duty in tort.61 Here, the Plaintiffs

have pleaded that the Defendant knew about a substantial data security risk dating

back to 2008 but failed to implement reasonable security measures to combat it.62 This




         58
            Hanover Ins. Co. v. Hermosa Const. Grp., LLC, 57 F. Supp. 3d 1389,
1395 (N.D. Ga. 2014).
         59
          Liberty Mut. Fire Ins. Co. v. Cagle’s, Inc., No. 1:10-cv-2158-TWT, 2010
WL 5288673, at *3 (N.D. Ga. Dec. 16, 2010).
         60
                   Bradley Center, Inc. v. Wessner, 250 Ga. 199, 201 (1982).
         61
           In re Target Corp. Cust. Data Sec. Breach Litig., 64 F. Supp. 3d 1304,
1310 (D. Minn. 2014) (ruling on motion to dismiss in financial institution cases).
         62
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶¶ 205-06.

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Court therefore finds that an independent duty existed, barring application of the

economic loss rule.

         The Court declines the Defendant’s invitation to hold that it had no legal duty

to safeguard information even though it had warnings that its data security was

inadequate and failed to heed them. To hold that no such duty existed would allow

retailers to use outdated security measures and turn a blind eye to the ever-increasing

risk of cyber attacks, leaving consumers with no recourse to recover damages even

though the retailer was in a superior position to safeguard the public from such a risk.

The Defendant’s motion to dismiss based on the economic loss rule should be denied.

Additionally, the Defendant moves to dismiss the Plaintiffs’ negligence claim on the

ground that it owed no duty to the Plaintiffs. Because this Court finds that a duty does

exist, the motion to dismiss on the ground that there was no duty should also be

denied.

         The Defendant also moves to dismiss the Plaintiffs’ negligence per se claim.

“Georgia law allows the adoption of a statute or regulation as a standard of conduct

so that its violation becomes negligence per se.”63 In order to make a negligence per

se claim, however, the plaintiff must show that it is within the class of persons

intended to be protected by the statute and that the statute was meant to protect against


         63
                   Pulte Home v. Simerly, 322 Ga. App. 699, 705 (2013).

T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -13-
the harm suffered.64 Here, the Plaintiffs allege that Home Depot violated Section 5 of

the FTC Act. The Defendant argues that Section 5 cannot form the basis of a

negligence per se claim. The Consolidated Class Action Complaint here adequately

pleads a violation of Section 5 of the FTC Act, that the Plaintiffs are within the class

of persons intended to be protected by the statute, and that the harm suffered is the

kind the statute meant to protect.65 Additionally, one Georgia case and one case

applying Georgia law both suggest that the FTC Act can serve as the basis of a

negligence per se claim.66 The Defendant’s motion to dismiss the negligence per se

claim should be denied.

         C. Injunctive and Declaratory Relief

         Next, the Defendant moves to dismiss the Plaintiffs’ claim for Injunctive and

Declaratory Relief. First, the Defendant argues that the Plaintiffs are pursuing an

impermissible standalone claim for injunctive relief and impermissibly requesting an

injunction related to a negligence claim. Not so. Instead, the Plaintiffs ask for an



         64
                   Amick v. BM & KM, Inc., 275 F. Supp. 2d 1378, 1382 (N.D. Ga. 2003).
         65
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶¶ 217, 219-20.
         66
             Bans Pasta, LLC v. Mirko Franchising, LLC, No. 7:13-cv-00360-JCT,
2014 WL 637762, at *13-14 (W.D. Va. Feb. 12, 2014) (applying Georgia law);
Legacy Acad., Inc. v. Mamilove, LLC, 328 Ga. App. 775, 790 (2014), aff’d in part
and rev’d in part on other grounds, 297 Ga. 15 (2015).

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injunction corresponding to their declaratory judgment claim.67 Such a claim is

permissible under the Declaratory Judgment Act.68

         The Defendant next argues that the Plaintiffs’ claim for injunctive and

declaratory relief is based on a speculative future data breach. The Supreme Court has

held that there must be “a substantial controversy, between parties having adverse

legal interests, of sufficient immediacy and reality to warrant the issuance of a

declaratory judgment.”69 The Plaintiffs have pleaded that the Defendant’s security

measures continue to be inadequate and that they will suffer substantial harm.70 The

Plaintiffs have pleaded sufficient facts to survive a motion to dismiss regarding a

future breach. The Defendant next argues that the Plaintiffs have an adequate remedy

at law. Contrary to the Defendant’s argument, the Plaintiffs do allege that they will

lack an adequate legal remedy if another breach occurs.71 The Defendant’s motion to

dismiss the claim for injunctive relief on remedy grounds should be denied.


         67
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 281.
         68
              28 U.S.C. § 2202 (“Further necessary or proper relief based on a
declaratory judgment or decree may be granted.”); Powell v. McCormack, 395 U.S.
486, 499 (1969) (“A declaratory judgment can then be used as a predicate to further
relief, including an injunction.”).
         69
                   MedImmune v. Genentech, Inc., 549 U.S. 118, 127 (2007).
         70
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 279.
         71
                   Id. ¶ 282.

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         The Defendant then argues that the Plaintiffs’ claim for declaratory relief seeks

an impermissible determination of past liability. “Declaratory relief is appropriate

when it is necessary to ‘protect the plaintiff from uncertainty and insecurity with

regard to the propriety of some future act or conduct.’”72 The Plaintiffs ask for a

declaration that the Defendant “breached and continues to breach” its duty.73 As to the

claim for declaratory relief that the Defendant already breached its duty, the

Defendant’s motion to dismiss should be granted because that deals with past liability

and is properly covered under the Plaintiffs’ negligence claims. As to the continuing

nature of the breach, however, the Defendant’s motion to dismiss should be denied.

         Finally, the Defendant argues that the association plaintiffs do not have standing

to bring a claim for declaratory relief because participation of the individual members

of the associations is required. “It is well-established that an association may seek

equitable relief on behalf of its members without running afoul of the [member

participation requirement].”74 Here, the association plaintiffs are seeking only



         72
             Tiller v. State Farm Mut. Auto. Ins. Co., No. 1:12-cv-3432-TWT, 2013
WL 451309, at *3 (N.D. Ga. Feb. 5, 2013) (quoting Henderson v. Alverson, 217 Ga.
541 (1962)), aff’d, 549 F. App’x 849 (11th Cir. 2013).
         73
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 280.
         74
             In re Managed Care Litig., 298 F. Supp. 2d 1259, 1308 (S.D. Fla. 2003)
(citing Hunt v. Washington State Apple Advert. Comm., 432 U.S. 333, 343 (1977)).

T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -16-
equitable relief. The participation of individual members is therefore not required. The

Defendant’s motion to dismiss the association plaintiffs should be denied.

         D. State Law Claims

         The Defendant also moves to dismiss the Plaintiffs’ state statutory claims. First,

the Defendant argues that the Plaintiffs do not have standing to bring these claims. As

discussed above, this Court finds that the Plaintiffs do have standing. The Plaintiffs

make claims as subclasses based on states of residence under eight separate state

statutes.

                   1. Alaska

         The Defendant first argues that the Plaintiffs have not pleaded an unfair act

under Alaska Stat. Ann. § 45.50.471(b). That statute gives an illustrative, but not

exhaustive list of unfair acts.75 Alaska looks to the FTC Act and federal law for

guidance in interpreting the meaning of unfair acts or practices.76 The Defendant first

argues that because maintaining inadequate security measures is not listed as an unfair

act in the statute, the Plaintiffs’ claim must be dismissed. Given that the statute

specifically makes its list of unfair acts illustrative but not exhaustive, this argument


         75
            Alaska Stat. Ann. § 45.50.471(b) (“The terms ‘unfair methods of
competition’ and ‘unfair or deceptive acts or practices’ include, but are not limited to
. . .”).
         76
                   State v. O’Neill Investigations, Inc., 609 P.2d 520, 535 (Alaska 1980).

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must fail. Additionally, courts have found that it can constitute an unfair practice

under the FTC Act to maintain inadequate security measures.77 The Plaintiffs allege

that the Defendant failed to maintain adequate security measures.78 The Defendant’s

motion to dismiss the Plaintiffs’ claim under Alaska Stat. Ann. § 45.50.471(b) should

be denied.

                   2. California

         The Defendant moves to dismiss the Plaintiffs’ claims under California’s Unfair

Competition Law (“UCL”) and Customer Records Act (“CRA”). The complaint first

pleads that the Defendant violated the CRA. That statute, however, may only be

asserted by customers – individuals “who provide[] personal information to a business

for the purpose of purchasing or leasing a product or obtaining a service from the

business.”79 The Plaintiffs here do not fall within that definition because they did not

obtain products or services from the Defendant. The standalone claim under the CRA

should be dismissed.




         77
                   See, e.g., In re TJX Cos. Retail Sec. Breach Litig., 564 F.3d 489, 496 (1st
Cir. 2009).
         78
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 224.
         79
                   Cal. Civil Code §§ 1798.84(b), 1798.80(c).

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         The Plaintiffs also assert a claim under the UCL. The UCL prohibits “any

unlawful, unfair or fraudulent business act.”80 Here, the Plaintiffs have pleaded a

violation of the “unfair” prong of the statute by pleading that the Defendant failed to

maintain adequate and reasonable security measures and that its conduct undermined

California public policy.81 The unlawful prong of the UCL prohibits “anything that

can properly be called a business practice and that at the same time is forbidden by

law.”82 Here, the Plaintiffs have properly pleaded a CRA violation to satisfy the

“unlawful” prong of the UCL.83 It does not matter that the CRA does not provide the

Plaintiffs with a private cause of action because the UCL “can form the basis for a

private cause of action even if the predicate statute does not.”84 The Defendant’s

motion to dismiss the UCL claim should be denied.

                   3. Connecticut




         80
                   Cal. Bus. & Prof. Code § 17200.
         81
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶¶ 232-34.
         82
            Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 973 P.2d
527, 539 (Cal. 1999).
         83
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 235.
         84
                   Chabner v. United of Omaha Life Ins. Co., 225 F.3d 1042, 1048 (9th Cir.
2000).

T:\ORDERS\14\In re Home Depot\MDL caption\mtdfitwt.wpd   -19-
         The Defendant moves to dismiss the Plaintiffs’ claim under the Connecticut

Unfair Trade Practices Act (“CUTPA”). As a threshold matter, the Defendant argues

that the Plaintiffs have failed to plead an unfair trade practice, but as discussed with

the Alaska statute, that is not the case. The Defendant next argues that this claim fails

because no duty exists between the Defendant and the Plaintiffs. As discussed above,

this Court finds that the Defendant did owe the Plaintiffs a duty. Finally, the

Defendant argues that the CUTPA claim is based on mitigation damages that are not

the proximate result of the Defendant’s conduct. As discussed above, this Court finds

that the Plaintiffs have pleaded damages proximately caused by the Defendant. The

Defendant’s motion to dismiss the CUTPA claim should be denied.

                   4. Florida

         The Defendant also moves to dismiss the Plaintiffs’ claim under the Florida

Deceptive and Unfair Trade Practices Act (“FDUTPA”). Businesses are only

authorized to bring actions under FDUTPA if they are acting as consumers by

engaging in the purchase of goods or services from the defendant.85 The complaint

here does not allege that the Plaintiffs were engaging in the purchase of goods or

services from the Defendant. Nor does this Court believe that the action of the banks



         85
            Carroll v. Lowes Home Centers, Inc., No. 12-23996-CIV, 2014 WL
1928669, at *4 (S.D. Fla. May 6, 2014).

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in issuing credit and debit cards to the individual consumers could be construed as

purchasing goods or services. The motion to dismiss the FDUTPA claim should be

granted.

                   5. Illinois

         The Defendant moves to dismiss the claim under the Illinois Consumer Fraud

and Deceptive Business Practices Act (“ICFA”). The Defendant argues that the

Plaintiffs have not alleged the sort of conduct required for a deceptive or unfair

practice claim under that statute. Addressing a data breach at another national retailer,

the Northern District of Illinois found that where a plaintiff alleged failure to comply

with industry standards, that plaintiff could survive a motion to dismiss a claim under

ICFA.86 That is exactly what the Plaintiffs have alleged here.87 The motion to dismiss

the ICFA claim should be denied.

                   6. Massachusetts

         The Defendant moves to dismiss the claim under the Massachusetts Consumer

Protection Act (“MCPA”). Again the Defendant argues that the Plaintiffs have failed

to allege conduct within the scope of the statute. Applying Massachusetts law, the



         86
                   In re Michaels Stores Pin Pad Litig., 830 F. Supp. 2d 518, 525-526 (N.D.
Ill. 2011).
         87
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 249.

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First Circuit found that the type of inadequate data security measures alleged by the

Plaintiffs here are sufficient to survive a motion to dismiss under the MCPA.88 The

motion to dismiss the MCPA claim should be denied.

                   7. Minnesota

         The Defendant moves to dismiss the claim under the Minnesota Plastic Card

Security Act (“MPCSA”). That statute prohibits persons and entities conducting

business in Minnesota from retaining certain financial data for more than 48 hours

after a card transaction.89 The Plaintiffs allege that the Defendant kept payment card

data for more than 48 hours after authorization, exactly what the MPCSA prohibits.90

The motion to dismiss the MPCSA claim should be denied.

                   8. Washington

         The Defendant moves to dismiss the claims under Wash. Rev. Code Ann. §

19.255.020 and the Washington Consumer Protection Act. The Defendant states that

§ 19.255.020 exempts companies from liability if they were certified compliant with

the payment card industry data security standards (“PCI-DSS”) within a year of the

breach and argues that because it was certified compliant, it cannot be held liable. The

         88
                   In re TJX Cos. Retail Sec. Breach Litig., 564 F.3d 489, 496 (1st Cir.
2009).
         89
                   Minn. Stat. Ann. § 325E.64.
         90
                   Financial Inst. Pls.’ Consolidated Class Action Compl. ¶ 265.

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Defendant then argues that because the Plaintiffs rely on the violation of § 19.255.020

to prove a violation of the Washington Consumer Protection Act, that claim should

be dismissed as well. What the Defendant fails to note, however, is that the Plaintiffs

allege that it was not in compliance with PCI-DSS standards at the time of the data

breach.91 The Defendant’s argument fails and the motion to dismiss the claims under

the Washington statutes should be denied.

         E. Ripeness

         Finally, the Defendant argues that the Plaintiffs’ claims are not ripe because of

the ongoing card brand recovery process, which could potentially reimburse the

Plaintiffs for some of their losses. A claim is ripe if the controversy is “definite and

concrete, touching the legal relations of parties having adverse legal interests.”92 The

claim here is one for damages related to past conduct. That is certainly definite and

concrete. This Court finds no need to wait any longer to resolve this claim. Although

the Defendant might be entitled to reduce any damages it may have to pay based on

the card brand recovery process, this is no reason to dismiss this litigation based on

ripeness. It is also worth noting that the Plaintiffs do not mention the card brand



         91
                   Id. ¶¶ 173-75, 178.
         92
                   Aetna Life Ins. Co. of Hartford, Conn. v. Haworth, 300 U.S. 227, 240-41
(1937).

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recovery process in their complaint, so this Court declines to consider it as a basis for

granting a motion to dismiss, which is to be decided only on the basis of the four

corners of the complaint. The motion to dismiss based on ripeness should be denied.

                                                  IV. Conclusion

         For the reasons stated above, The Home Depot, Inc.’s Motion to Dismiss the

Financial Institution Plaintiffs’ Consolidated Class Action Complaint [Doc. 114] is

GRANTED in part and DENIED in part.

         SO ORDERED, this 17 day of May, 2016.



                                                /s/Thomas W. Thrash
                                                THOMAS W. THRASH, JR.
                                                United States District Judge




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